Lawrence S. Lustberg, Esq.
GIBBONS P.C.

One Gateway Center

Newark, New Jersey 07102-5310
Tel: (973) 596-4500

Fax: (973) 596-0545

Attorneys for Plaintiff

Case 2:20-cv-00536-CCC-ESK Document 1-3 Filed 01/14/20 Page 1 of 8 PagelD: 31

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

IN RE SEACH OF ALL ELCTRONIC
DEVICES ON THE PERSON OF WAEL
HANA

IN RE SEACH OF THE PREMISES
LOCATED INSIDE 125 RIVER ROAD,
SUITE 301, EDGEWATER, NEW JERSEY,
07020

IN RE SEARCH OF THE PREMISES
LOCATED AT 100 ALEXANDER WAY,
SUITE 710, EDGEWATER, NEW JERSEY,
07020

IN RE SEARCH OF THE PREMISES
LOCATED INSIDE 125 RIVER ROAD,
SUITE 301, EDGEWATER, NEW JERSEY
07020

WAEL HANA,
Plaintiff,
-v-
UNITED STATES OF AMERICA

Defendant.

Mag. No. 19-8415

Mag. No. 19-8417

Mag. No. 19-8418

Mag. No. 19-8459

Civil Action No.: 20-cv- SS 60 Ce c.)

DECLARATION OF LAWRENCE S. LUSTBERG, ESQ.
IN SUPPORT OF PLAINTIFF’S MOTION FOR RETURN OF PROPERTY

Case 2:20-cv-00536-CCC-ESK Document 1-3 Filed 01/14/20 Page 2 of 8 PagelD: 32

I, Lawrence S. Lustberg, Esq., pursuant to 28 U.S.C. § 1746, declare under penalty of
perjury that the foregoing is true and correct:

1. J am an attorney-at-law in the State of New Jersey and am a member of the Bar of
this Court, among others. I] am the Co-Chair of Commercial & Criminal Litigation at Gibbons
P.C. and Director of the Firm’s John. J. Gibbons Fellowship in Public Interest & Constitutional
Law. Except as otherwise noted, I have personal knowledge of the facts set forth in this
declaration and could testify competently to them if called to do so.

2. I am the attorney for Plaintiff Wael Hana (“Mr. Hana” or “Plaintiff’) in this
matter. On November 25, 2019, the Government executed several search warrants on two
premises connected with Mr. Hana, during which it seized significant amounts of his property,
both personal and business-related, which property, as set forth below, it has refused to return,
though it has not charged Mr. Hana (who, I am told, has not even been identified as a target of its
investigation) and has not moved to forfeit his property or otherwise commence a lawful process
of holding the property, under the supervision of the Court.

3. I respectfully submit this declaration in support of Plaintiff's Motion for Return of
Property pursuant to Federal Rule of Criminal Procedure 41(g), which prohibits the Government
from withholding Mr. Hana’s property for an unreasonable amount of time, as the Government
has done here, see United States v. Premises Known as 608 Taylor Ave., Apartment 302, 584
F.2d 1297, 1302-04 (3d Cir. 1978), and the Due Process Clause of the Fifth Amendment to the
United States Constitution, which prohibits the government from seizing property and then
failing to bring a forfeiture action against it within a reasonable time, United States v. Eight
Thousand Eight Hundred & Fifty Dollars ($8,850) in United States Currency, 461 U.S. 555, 563

(1983).
Case 2:20-cv-00536-CCC-ESK Document 1-3 Filed 01/14/20 Page 3 of 8 PagelD: 33

The Government Seizes Mr. Hana’s Property

4. On November 20, 2019 the Honorable Leda Dunn Wettre, United States
Magistrate Judge of the United States District Court of New Jersey, signed warrants authorizing
the search of Mr. Hana’s business, IS EG Halal at 125 River Road, Suite 301, Edgewater, New
Jersey 07020, and of his home at 100 Alexander Way, Suite 710, Edgewater, New Jersey 07020.!
Exh. A-B. Judge Wettre also authorized the search of all electronic devices on Mr. Hana’s
person. Exh. C.

5. The search warrants authorized the seizure of “evidence, contraband, fruits, and
instrumentalities of violations of” 18 U.S.C. §§ 371 and 951; 21 U.S.C. § 844; and 22 U.S.C. §§
612 and 618(a)(1).

6. The warrants authorized the seizure of documents, communications, and things
related to Mr. Hana’s purported actions at the direction of the Egyptian government and IS EG,
including Mr. Hana’s alleged communications with U.S. officials and other actions allegedly
taken in connection with the offenses specified above. Exh. A-C.

7. The Government executed the search warrant for 100 Alexander Way, Suite 710,
on or about November 25, 2019. Exhs. B, E. The Government seized:

a. Business documents regarding Uruguay, including two notebooks;
b. An iPhone 11;

c. An iPhone 10 with protective casing;

' True and correct copies of the warrants are attached to this Declaration as follows: the warrant for the search of
125 River Road issued on November 20, 2019, Magistrate Number 19-8417, is attached as Exhibit A; the warrant
for the search of 100 Alexander Way issued on November 20, 2019, Magistrate Number 19-8418, is attached as
Exhibit B; the warrant for the search of all electronic devices on Mr. Hana’s person, Magistrate Number 19-8415, is
attached as Exhibit C; and the Warrant for the search of 125 River Road issued on November 25, 2019, Magistrate
Number 19-8459, is attached as Exhibit D.

True and correct copies of the inventories of the property seized during the searches are attached to this Declaration
as follows: the inventory regarding the property seized at 100 Alexander Way is attached as Exhibit E; the
inventory regarding the property seized at 125 River Road is attached as Exhibit F.
Case 2:20-cv-00536-CCC-ESK Document 1-3 Filed 01/14/20 Page 4 of 8 PagelD: 34

d. Three Samsung cellphones with protective casing;
e. IS EG business documents;

f. Documents from the Egyptian Embassy;

g. Business documents which included a photo album;
h. Business documents;

i. $5,943.00 in cash;

j. Jewelry;

k. A Vertu smartphone;

l. Business documents;

m. A Tablet with a wireless keyboard and charger;

n. A Mac Mini;

oO. A “dark green substance” with a “gold cigarette”; and
p. A passport. Exh. E.

8. On November 25, 2019, Judge Leda Dunn Wettre issued another search warrant
for 125 River Road Suite 301, which updated the physical description of the office space in Suite
301. Exh. D.

9. The Government executed the search warrants for 125 River Road Suite 301 on or

about November 25, 2019. Exhs. D, F. During the search, the Government seized:

a. A Lenovo laptop with a power card;
b. An HP ProDesk computer tower;

c. Another HP computer tower;

d. A BuyPower computer tower;

e. A Lenovo computer tower;
Case 2:20-cv-00536-CCC-ESK Document 1-3 Filed 01/14/20 Page 5 of 8 PagelD: 35

f. Three USBs;
g. “Misc[ellaneous] documents and notepads and folders”;

h. A WD My Cloud Mirror Server;

i. A Synology Server;
j. A Dell computer tower; and
k. Two Lenovo Think Center towers. Exh. F.
10. The Government has neither brought any charges against Mr. Hana, nor provided

either him, or me, with any explanation for why it seized his property; nor did it even extend
either of us the common courtesy of speaking to us, notwithstanding my efforts to reach the
responsible Assistant U.S. Attorneys with the assistance of the United States Attorney’s Office
for the District of New Jersey, until finally, on December 13, 2019, I received an email from
Assistant U.S. Attorneys Jason Richman and Gillian Grossman indicating that they would speak

to me, which they finally did four (4) days later. See infra, {J 12-13.

The Government Ignores Mr. Hana, and Then Rejects His Reasonable Requests for the
Return of His Property

11. This was not for lack of trying. At the time of the search, I (as Mr. Hana’s
counsel) reached out to several Assistant U.S. Attorneys in the District of New Jersey to inquire
to whom I should speak with regard to this matter. I also attempted to contacted the FBI agents
who executed the search warrants, who had left their business cards with Mr. Hana, to no avail —
they did not return my calls or emails. Eventually, on December 4, 2019, John Gay, the Chief of
the Criminal Division of the United States Attorney’s Office for the District of New Jersey,
graciously returned my calls and emails; he informed me that the case was being handled in

another District and that he would pass my contact information on to the prosecutors there.’

2 A true and correct copy of my emails with Mr. Gay are attached as Exhibit G.

5
Case 2:20-cv-00536-CCC-ESK Document 1-3 Filed 01/14/20 Page 6 of 8 PagelD: 36

Exh. G. On December 12, 2019, having not heard from the Government, I contacted Mr. Gay
again and told him that I had not been contacted, informing him that I felt that I had no choice
but to file a motion, like this one. Jd. The next day, Mr. Gay informed me that the Assistant
United States Attorney in charge of the investigation had asked him not to provide her name to
me. /d. He reiterated that she would eventually contact me. /d. He also explained that he
would inform her of my intention to file a motion like this one. /d.

12. At 5:00 p.m. on Friday, December 13, 2019, Assistant United States Attorneys
Jason A. Richman and Gillian Grossman, from the Southern District of New York, contacted me
to arrange a phone call regarding this matter.?_ Exh. H.

13. | Mr. Richman and Ms. Grossman were busy, and we were not able to have that
phone call until December 17, at which point Mr. Richman and Ms. Grossman advised me that
Mr. Hana is not, at this time, a target of the Government’s investigation; they characterized him
as a subject. They told me that they would not return Mr. Hana’s passport because it is being
held as evidence. However, they explained that they had no intention of restricting Mr. Hana’s
freedom to travel, and specifically recommended that he apply for a new passport so that he
could do so. I explained that Mr. Hana was willing to meet and cooperate with the Government
and to discuss his conduct at any time. Jd. They declined to tell me what the case was about,
saying it was “early” in their investigation. I explained Mr. Hana’s position was that he is
entitled to the return of his property and would go to Court to get it if needs be. /d. Mr. Richman
and Ms. Grossman asked that I submit a list of the items that Mr. Hana requested be returned,
and promised to let me know their position with respect to those items. Jd. At no point did they

ever explain how Mr. Hana’s property constitutes evidence in their investigation.

3 A true and correct copy of my emails with Ms. Grossman and Mr. Richman are attached as Exhibit H.

6
Case 2:20-cv-00536-CCC-ESK Document 1-3 Filed 01/14/20 Page 7 of 8 PagelD: 37

14. The day after that discussion, I sent Mr. Richman and Ms. Grossman an email
memorializing the call. Jd. I reiterated that Mr. Hana is fully willing to cooperate with the
Government’s investigation and that he seeks the return of his seized items. Id. Specifically, |
requested the return of Mr. Hana’s laptop and desktop computers, documents, USBs, internet
servers, cellphones, business documents, documents from the Egyptian Embassy, a photo album,
jewelry (some of which he had purchased as a Christmas gift for his mother), a tablet, and,
finally, his passport. Jd. I explained that he needed those items for both personal and
professional reasons. Id.

15. Three days later, having again heard nothing, I contacted the Government to
request a response to my email. Jd. Ms. Grossman replied that the Government would return
Mr. Hana’s electronic devices and storage media after it had finished imaging their data, subject
to several conditions, such as a stipulation that the digital evidence on the device be
authenticated without the physical object. Jd. She also asked that I identify whether any of the
seized materials belonged to a third party. Id. Ms. Grossman refused, however, to return Mr.
Hana’s passport or any of his other property. Id.

16. I replied that the Government’s response was wholly inadequate and that as a
consequence | would be filing this motion. Jd. 1 explained that none of the property that the
Government seized belonged to a third party. Jd. 1 also requested that the Government provide a
timetable for the return of that property of Mr. Hana’s which the Government had promised to
image and return. Id. I did not receive a response from the Government for ten days. Jd. On
December 30th, after another follow-up email from me, Mr. Richman informed me that the
Government would not change its stance on the passport and would not provide me a timeframe

for the return of Mr. Hana’s other property. Jd.
Case 2:20-cv-00536-CCC-ESK Document 1-3 Filed 01/14/20 Page 8 of 8 PagelD: 38

17. Mr. Hana’s property currently remains in the possession of the Government, over

his objection and in violation of his rights, constitutional and otherwise.

Dated: January 14, 2020 COR

Newark, New Jersey LawrenteS. Lustbtyg

